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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Case No.:     22-cv-2241


  BRIAN LITTLEFIELD,

                Plaintiff,
  v.

  WELD COUNTY SCHOOL DISTRICT RE-5J, a political and quasi-municipal subdivision;
  LESLIE ARNOLD, individually and in her former official capacity as Superintendent; and
  CARA ANDERSON, individually and in her former official capacity as Assistant
  Superintendent of Human Resources,


                Defendants.


                              COMPLAINT AND JURY DEMAND

         Plaintiff, Brian Littlefield (hereinafter “Dr. Littlefield” or “Plaintiff”), by and through

  his undersigned attorney, brings this action and alleges as follows:

                                     I.      INTRODUCTION

         Being a Christian white conservative male is not synonymous with intolerance and

   xenophobia; however, according to Leslie Arnold, then Superintendent of Weld County

   School District RE-5J and Cara Anderson, then the Assistant Superintendent of Human

   Resources of that same District, it was. Dr. Brian Littlefield, a former Principal at Weld

   County School District RE-5J, is a pious Christian male who lives his life through the

   teachings of Jesus Christ. Dr. Littlefield never brought the teachings of Christianity

   during school hours nor in his official capacity as a school administrator. On his time off

   would he frequently make efforts to educate those willing to hear his views on his faith.



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   On February 25, 2021, he spoke with a group of Christian athletes to provide faith-based

   guidance. Soon thereafter Ms. Arnold became aware of Dr. Littlefield’s faith-based

   speech that had no connection to school. Shortly after becoming aware of his speech

   Ms. Arnold then changed Dr. Littlefield’s performance evaluation from a positive review

   to threatening corrective action. Days later, Dr. Littlefield was called into a meeting with

   both Ms. Arnold and Ms. Anderson wherein it became evident that his Christian faith was

   an issue with Ms. Arnold and Ms. Anderson.

         Based on the intolerance that Ms. Arnold and Ms. Anderson showed towards Dr.

   Littlefield he promptly filed a complaint with the District claiming, in part, religious and

   gender discrimination. Days later, Ms. Anderson and Ms. Arnold then retaliated by filing

   their own complaints against him. Ultimately, Ms. Arnold demoted Dr. Littlefield a mere

   60 days after the filing of his complaint and then, in turn, and at the behest of Ms.

   Anderson, the District terminated Dr. Littlefield a mere 90 days after filing of his

   complaint.

         Dr. Littlefield is bringing this action to right the wrong that was unjustly inflicted

   upon him because of his faith and/or gender. The actions of Ms. Arnold and the District

   not only violated Dr. Littlefield’s rights as codified by the First Amendment to United

   States Constitution, the Civil Rights Act of 1964, but equally violated his rights under the

   laws of the State of Colorado.




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                                              II.   PARTIES

           1.     At all times relevant, Plaintiff Dr. Littlefield has been a resident of the State

   of Colorado.

           2.     Defendant Weld County School District RE-5J (hereinafter referred herein

   as the “District”) is a political and quasi-municipal subdivision of the State of Colorado.

           3.     Defendant Leslie Arnold is an individual resident of the State of Colorado.

           4.     Defendant Cara Anderson is an individual resident of the State of Colorado.

                                      III.      JURISDICTION & VENUE

           5.     This action arises under the Constitution and laws of the United States and

  42 U.S.C. §1983. Additionally, jurisdiction is proper because Dr. Littlefield is further

  alleging violations of his rights under Title VII. Jurisdiction is conferred on this Court

  pursuant to 28 U.S.C. §§ 1331 and 1343. In addition, this Court has jurisdiction to resolve

  any state law claims brought by Dr. Littlefield under 28 U.S.C. § 1367.

           6.     Venue in the United States District Court is proper in that the action

  complained of took place in the State of Colorado, and all the parties are residents of the

  state.

                                IV.          FACTUAL ALLEGATIONS

  a.       Dr. Brian Littlefield’s educational background and religious commitment

           7.     Dr. Littlefield has been an educator for over 27 years. Over that 27-year

  career, 20 of which was in school administration, Dr. Littlefield has never received any

  discipline or negative evaluation until his untimely departure from the District.

           8.     The culmination of Dr. Littlefield’s pursuit of his own personal education



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  came in 2016 when he received his doctorate in Educational Leadership and

  Administration from the Dallas Baptist University.      In addition to his doctorate, Dr.

  Littlefield received his Masters’ Degree in K-12 Educational Leadership from Texas State

  University and a Bachelors’ Degree in Education from Stephen F. Austin State University.

         9.     In 2019, Dr. Littlefield was hired by the District to be the Principal at

  Roosevelt High School (“RHS”). Dr. Littlefield held his position from May 19, 2019 through

  June 1, 2021.

         10.    As the Principal of RHS, Dr. Littlefield’s job duties were: (1) the academic

  leader of the campus; (2) he led and created a positive culture and climate at RHS; (3)

  led all faculty and staff at RHS and was tasked with making personnel decisions at the

  high school; (4) led all student academic and extra-curricular progress and programs; (5)

  he was responsible for the social/emotional/physical safety of students, faculty, and staff;

  and (6) served on District leadership committees.

         11.    In July 2018, Ms. Arnold was hired by the District to be the Superintendent

  of Schools.

         12.    In October 2020, Dr. Littlefield began reporting directly to Ms. Arnold.

         13.    From that point forward Ms. Arnold was the individual that evaluated Dr.

  Littlefield’s performance.

         14.    The District provides performance evaluations for District employees. The

  performance evaluations are evaluations of the individual employee’s work performance

  for the full calendar school year. The performance evaluations are provided to the

  employee twice a year. The first is a mid-year review which is every January and then



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  the final review which is completed in May. The results of performance evaluations can

  determine salary increases and job renewals.

         15.    For the 2020-2021 calendar year, Dr. Littlefield’s performance was initially

  rated satisfactory. In fact, as of January 14, 2021, the Principal survey conducted by the

  District revealed glowing accolades of Dr. Littlefield from his peers as an effective

  administrator. (Attached hereto as Exhibit A is a copy of the survey). As will be

  addressed more fully below, all that changed on February 27, 2021, when Ms. Arnold

  engaged in a campaign of unlawful discriminatory activity that ultimately resulted in Dr.

  Littlefield being forced out of the District in June 2021.

         16.    In addition to his commitment to education, Dr. Littlefield also has a strong

  religious commitment in Christianity.

         17.    As a teacher and as an athletic coach, Dr. Littlefield has been a sponsor of

  the Fellowship of Christian Athletes.        The Fellowship of Christian Athletes is an

  organization that focuses on empowering coaches and athletes through the teachings of

  Jesus Christ.    Upon information and belief, the Fellowship of Christian Athletes is

  recognized by the Internal Revenue Service as a non-profit organization under Section

  501(c)(3) of the Internal Revenue Code.

         18.    In addition to his sponsorship of the Fellowship of Christian Athletes, Dr.

  Littlefield also served as deacon for his Church as well as teaching young married

  couples. Finally, he has been a director of a youth Christian Sunday School.

         19.    On February 25, 2021, and before school started, Dr. Littlefield gave a

  motivational speech to members of the Fellowship of Christian Athletes.



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         20.    At all times relevant, Dr. Littlefield was not giving the speech during school

  hours nor in his capacity as the principal. Dr. Littlefield also did not use any school

  resources to prepare his speech. Further, the giving of the speech did not detract from

  his ability to perform all of his normal job duties as principal. Dr. Littlefield was talking to

  the Fellowship of Christian Athletes as a member of the Church, religious mentor, and

  devoted Christian.

  b.     Protected constitutional activity meets intolerance

         21.    On February 25, 2021, Ms. Arnold became aware of Dr. Littlefield’s speech

  with the Fellowship of Christian Athletes. Ms. Arnold became aware of this speech when

  RHS Assistant principal Rebecca Albert informed Ms. Arnold that Dr. Littlefield was asked

  to speak with students of the Fellowship of Christian Athletes.

         22.    Just days after Dr. Littlefield’s speech with the Fellowship with Christian

  Athletes, on Saturday February 27, 2021, Ms. Arnold provided Dr. Littlefield with the

  amended performance evaluation. The amended evaluation identified concerns and

  issues that Ms. Arnold purportedly had with Dr. Littlefield’s performance as the Principal

  of RHS. Those concerns—which were not in the original version of the evaluation—

  included various false allegations such as Dr. Littlefield having: (1) implicit biases; (2) not

  promoting safety and equity for all students, staff, and community; (3) failing to respond

  to parents and staff in a “timely manner” or not responding to them at all; and (4) being

  disrespectful and insubordinate to Ms. Arnold.

         23.    Prior to the alteration and changes to Dr. Littlefield’s performance

  evaluation, he had never been counseled nor advised that there were any concerns or



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  complaints regarding his duties as an administrator. The first time such concerns were

  aired to him was right after he gave his speech to the Fellowship of Christian Athletes.

          24.    Upon information and belief, the purported issues of concern as laid out in

  Paragraph 22 herein not only lack any factual support but are manufactured pretext to

  amend Dr. Littlefield’s performance evaluation and thus jeopardize his position within the

  District.

          25.    An example of Ms. Arnold contriving or purposefully creating a conduct

  issue is the allegation that Dr. Littlefield was unprepared for the February 26, 2021,

  teacher union negotiation.     Ms. Arnold alleges that she provided Dr. Littlefield with

  sufficient opportunity to prepare for the negotiations, but that Dr. Littlefield failed in that

  task. Contradicting Ms. Arnold’s claim are the following salient facts:

                 • Days before the negotiations commenced, Dr. Littlefield requested
          to have an in-person meeting with Ms. Arnold to discuss the negotiation
          plan. Those invitations were rebuffed by Ms. Arnold with a response of “just
          send me your stuff I’m too busy to meet.”

                 • Dr. Littlefield spent months working with teachers and the RHS
          administrative team preparing and planning for the negotiation meetings. In
          furtherance of the strategy sessions, Dr. Littlefield again emailed Ms. Arnold
          to obtain a block schedule, and was requesting two additional full-time
          teachers or FTEs that would have addressed the concerns of the teachers’
          union which, in turn, would then have completed the negotiations.

                 • On February 26th, the day of the negotiations with the union, when
          Dr. Littlefield began presenting what was prepared, which included the
          teacher/FTE’s, Ms. Arnold promptly stopped Dr. Littlefield’s presentation
          and stated: “I never approved those teachers/FTE’s and you never asked
          me for them.” Contradicting Ms. Arnold’s statement were the previous
          emails that were sent to her from Dr. Littlefield setting forth this very
          strategy.




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          26.     On March 1, 2021, Dr. Littlefield was required to meet with Ms. Arnold. In

  that meeting were various members of the RHS administration as well as Cara Anderson,

  the Assistant Superintendent of Human Resources.

          27.     The March 1st meeting was approximately three hours. During that meeting,

  Dr. Littlefield was subjected to numerous false allegations ranging from him being

  homophobic—which was and is untrue1—to accusing him of struggling with Ms. Arnold

  because she was female, which was also untrue. In addition, Ms. Arnold made numerous

  unfounded accusations of purported complaints that were made against Dr. Littlefield

  during his tenure with RHS.2 Where Ms. Arnold was using this meeting to air her own

  personal grievances and concerns of meritless complaints, Ms. Arnold would not allow

  Dr. Littlefield to respond to the baseless accusations. In other words, he was to sit there

  and “just take it.”

          28.     Of considerable note, and displaying the discriminatory animus that Ms.

  Arnold felt towards Dr. Littlefield, were the following untoward comments:

          ● “Brian, you are not at a Christian School.”
          ● Dr. Littlefield was accused of not including or being inclusive of children
            because of his values and religious beliefs.3
          ● Dr. Littlefield has a “large amount of bias.”4
          ● “Nobody cares about your values or religion”
          ● “Brian you don’t understand your White Privilege, you need to learn to
            keep it in check”


  1
    Dr. Littlefield has a family member that is homosexual whom he shares a close relationship with.
  2
     Prior to the March 1, 2021, meeting, Dr. Littlefield was never told nor advised that there were any
  complaints made against him.
  3
    Dr. Littlefield has never excluded a child nor treated one differently because of his own personal values
  and religious beliefs. This was yet another example of false allegations to place Dr. Littlefield in a false
  light.
  4
    This accusation was offensive not only for its falsity but also considering Dr. Littlefield came from a poor
  bi-racial family.


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         ● “I have a sense that you struggle with my being a female leader”
         ● “If you can’t start acting BLUE, then you need to start learning to act like
           it” [This is in reference to him being a religious conservative].
         ● Dr. Littlefield was told that he is a “conservative religious white male and
           that faculty and staff didn't feel comfortable coming to [him] with issues."

         29.    As to Ms. Arnold’s statement that staff were uncomfortable coming to Dr.

  Littlefield, the anonymous survey just 42 days prior counters that claim. See Exhibit A.

         30.    Like Ms. Arnold, Ms. Anderson also displayed displeasure with Dr. Littlefield

  by stating that she “didn’t share the same religion as [Dr. Littlefield] and that she was a

  supporter of LGBTQ.”       To be clear, Dr. Littlefield does not harbor any anti-LGBTQ

  sentiment. She then asked if Dr. Littlefield has a “problem with her.”

         31.    In the context of critiquing Dr. Littlefield’s performance, the statements by

  both Ms. Arnold and Ms. Anderson regarding his religion were both bizarre and

  inappropriate, for Dr. Littlefield did not discuss the teachings of Christianity, or religion in

  general, when administering his duties as the Principal of RHS. In short, that Dr. Littlefield

  is a practicing and devout Christian should have been irrelevant in evaluating his duties

  as RHS’ Principal because he never proselytized at RHS nor otherwise attempted to

  impart his religious beliefs on others at the school; however, Ms. Arnold and Ms. Anderson

  shined a light on his Christian values as part their own evaluation of Dr. Littlefield as an

  educator.

         32.    Based on the offensive and bigoted statements made by both Ms. Arnold

  and Ms. Anderson, it was apparent that both Ms. Arnold and Ms. Anderson believed being

  a white Christian male in America was synonymous with intolerance. Ironically, it was




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   their own prejudices and intolerance against Christian conservatism that was the

   roadblock for forging a fruitful working relationship with Dr. Littlefield.5

   c.      Dr. Littlefield encounters retaliation after filing his complaint

           33.     Based on Ms. Arnold’s and Ms. Anderson’s misconduct during the March 1,

   2021, meeting, Dr. Littlefield submitted a formal complaint against both of them to Board

   of Education President Michael Wailes.

           34.     The complaint was filed on March 2, 2021. The complaint alleges various

   allegations of inappropriate conduct. One of the claims against Ms. Arnold is that she

   belittled Dr. Littlefield in front of other administrative staff by stating that he was not a “very

   smart man.” In addition, the complaint further alleges that Ms. Arnold and Ms. Anderson

   have subjected him to discrimination for being a “conservative Christian male” and that

   they created a “hostile work environment.” Dr. Littlefield expressed his concern by stating

   that he feels very vulnerable and under attack because of his conservative values, his

   religious beliefs, and being a “white conservative male.”

           35.     On March 6, 2021, a mere four days after Dr. Littlefield filed his complaint

   against Ms. Arnold and Ms. Anderson, he was then subjected to retaliation by having a

   complaint filed against him by both Ms. Arnold and Ms. Anderson.

           36.     Ms. Arnold and Ms. Anderson alleged that Dr. Littlefield engaged in the

   following conduct: inappropriate response to race issues; derogatory comments against

   LGBTQ individuals; engaged in gender inequity; lack of responsiveness on bullying



   5
    It bears repeating that the alleged problems with Dr. Littlefield arose only after Ms. Arnold became
   aware of Dr. Littlefield’s speech to the Fellowship of Christian Athletes.


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   issues; unpreparedness for union negotiations; failing to lead on safety measures; and

   using derogatory terms.

             37.      Notably, none of the issues identified in the Arnold/Anderson complaint

   were ever raised as issues prior to March 1, 2021.

             38.      While the dual complaints were pending, Dr. Littlefield was further harassed

   by Ms. Arnold and Ms. Anderson. The harassment included: (1) telling Dr. Littlefield’s

   staff that moving forward all decisions that were previously the duties of Dr. Littlefield will

   now go through Ms. Arnold instead; (2) advising Dr. Littlefield’s staff that Ms. Arnold and

   Ms. Anderson were investigating Dr. Littlefield and that they needed all their help; (3)

   before the investigation even commenced Ms. Arnold told other RHS staff that Dr.

   Littlefield would not be returning to RHS the next school year; (4) Ms. Arnold required to

   meet with Dr. Littlefield one-on-one every week, which was never done before the

   complaint was filed against her; (5) Ms. Arnold and Ms. Anderson began monitoring Dr.

   Littlefield’s’ emails, phone and calendar; (6) firing Dr. Littlefield’s own administrative

   assistant (Mrs. Powers) who was a person that was instrumental in aiding Dr. Littlefield

   in administering his daily duties;6 and (7) demoting Dr. Littlefield to the position of co-

   Principal.

             39.      Upon the filing of the dual complaints, the District began to investigate both

   the Littlefield complaint and the Arnold/Anderson complaints.




   6
       Dr. Littlefield opposed the firing of Mrs. Powers.


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          40.     Upon    information   and    belief,   the   investigation   began   after   the

   Arnold/Anderson March 6, 2021 complaint was submitted, with a final investigative finding

   made on April 19, 2021.

          41.     As part of the investigation to support Dr. Littlefield’s complaint as well as

   refuting the allegations raised by Ms. Arnold and Ms. Anderson, he requested that the

   District interview the following individuals:

                  a. Sara Hall, School Board Member
                  b. Leslie Power, Former District Administrative Assistant
                  c. Estrella Gallegos, District Counselor
                  d. Robert Brinker, District Department Chair
                  e. Paul Kratz, District Department Chair
                  f. Robin Wells, former District Department Chair
                  g. Dan Joiner, District Head Track Coach and business teacher
                  h. Lane Wassinger, District Head Football Coach and teacher
                  i. Paul Herman, District teacher
                  j. Kayla Sommers, District Teacher and FCA Sponsor
                  k. Brian Wells, District Teacher
                  l. Jeanne Martin, District Receptionist
                  m. Dr. Melinda Groom, Former District Chief Academic Officer
                  n. Dr. Mona Berry, Former District Chief Academic Officer
                  o. Andrew Yost, RHS Business Teacher and JMEA representative.


          42.     Upon information and belief, other than Mr. Andrew Yost, none of the other

   witnesses were ever interviewed by the District.

          43.     The District never advised Dr. Littlefield why his list of witnesses were not

   interviewed.

          44.     On April 19, 2021, the District ultimately sustained various allegations

   against Dr. Littlefield. The sustained allegations were: (1) not responding appropriately

   with regard to race-related issues; (2) making derogatory comments regarding the

   LBGTQ community; (3) treating female leaders differently than male leaders; (4) not being


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   responsive to student and parent concerns about bullying; (5) not being prepared for the

   JMEA negotiations; (6) not taking the lead on timely implementing Safety Measures at

   the high school and (7) using a derogatory slang in addressing students as “honyocks.”

         45.    Dr. Littlefield denied engaging in the conduct as set forth in Paragraph 44

   herein. Furthermore, Dr. Littlefield was surprised that the investigator could sustain the

   allegations and claim a thorough investigation was done when 14 of his witnesses were

   not even interviewed.

         46.    Notably, during the time of the investigation, Ms. Arnold was still the

   Superintendent of the District and Ms. Anderson still held the position as Assistant

   Superintendent of Human Resources.

         47.    Where Dr. Littlefield was found to have violated certain District policies, the

   claims that he brought against Ms. Arnold and Ms. Anderson were determined to be

   unsubstantiated by the investigator.

         48.    Dr. Littlefield was alarmed that the investigator would not sustain any of the

   claims against Ms. Arnold and Ms. Anderson particularly when their at-issue statements

   were recorded and provided to the District investigator as evidence of the misconduct.

         49.    On April 27, 2021, the District issued Dr. Littlefield a written warning

   regarding the sustained allegations identified in Paragraph 43 herein. The written warning

   was made public by the Board of Education.

         50.    On May 5, 2021, and during a Board of Education citizen comment period

   addressing the recent written warning received by Dr. Littlefield, nine of the ten people

   that spoke to the Board of Education were in support of Dr. Littlefield. Furthermore,



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   Andrew Yost stated that Dr. Littlefield displays: “non-biased, non-judgmental and equal

   treatment to the entire student body.” Conversely, Ms. Arnold was described by the public

   as a “district leader with control issues, who is manipulative and with a management style

   that seems to churn chaos and drama while creating an environment of fear and

   retribution.”

          51.      During the same period of time, an RHS student created an online petition

   that was titled “Stand with Dr. Littlefield.” As of May 6, 2021, there were approximately

   1,167 people who signed the petition.

          52.      Where the District determined that a written warning was sufficient to

   resolve the alleged violations, Ms. Arnold took the position that a harsher penalty must

   be administered.

          53.      Still incensed by the fact that Dr. Littlefield filed a complaint against her and

   unsated by the District’s written warning, on May 7, 2021, Ms. Arnold sent an email to the

   Board of Education demanding that Dr. Littlefield be terminated. Ms. Arnold stated, in

   part, the following: “I could agree to almost any scenario except leaving Brian at RHS.”

          54.      On May 12, 2021, the Board of Education terminated Ms. Arnold as the

   Superintendent. In terminating Ms. Arnold, the Board of Education did not publicly state

   a reason from removing her from the District.

          55.      Despite Ms. Arnold’s termination, Ms. Anderson kept her position within the

   District until December 2021. Upon information and belief, Ms. Anderson was ultimately

   terminated from the District in December 2021.




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          56.    Upon information and belief, and at all times relevant, Ms. Anderson was

   an ardent supporter of Ms. Arnold.

          57.    Under the April 27, 2021 written warning, instead of meeting with Ms. Arnold

   on the weekly one-on-one meetings, Dr. Littlefield was to meet weekly with Tami Kramer.

   Upon information and belief, the likely reason that Dr. Littlefield was no longer going to

   be engaging in the weekly meetings with Ms. Arnold was due to the pending complaint

   he had against both her and Ms. Anderson.

          58.    On May 3, 2021, and just nine days before Ms. Arnold was terminated, and

   still while Dr. Littlefield’s complaint was pending, Ms. Arnold made the determination that

   Dr. Littlefield would no longer be the head Principal of RHS but demoted him to the

   position of co-Principal with Rebecca Albert. This determination was not one of the

   directives set forth in the April 27th written warning.     Furthermore, this decrease in

   responsibility occurred in a one-on-one meeting with Ms. Arnold, which meeting appeared

   not be in comport with the April 27th directives.

          59.    Being a co-Principal with Ms. Albert caused a decrease in Dr. Littlefield’s

   responsibilities and duties.

          60.    Even after Ms. Arnold’s termination from the District, the District did not

   restore Dr. Littlefield’s duties and responsibilities and kept him in the role of co-Principal

   at RHS.

          61.    Less than 30 days after being demoted, Dr. Littlefield was called to a

   meeting with Ms. Anderson. That meeting occurred on June 1, 2021.




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          62.     During the June 1, 2021 meeting, Ms. Anderson, acting in the capacity as

   the Assistant Superintendent of Human Resources, made the determination that Dr.

   Littlefield allegedly violated several directives as outlined in the April 27 th written warning

   and as a consequence his contract with the District will not be renewed. In other words,

   Dr. Littlefield was terminated.

          63.     Ms. Anderson alleged that the directives Dr. Littlefield violated are as

   follows: (1) Dr. Littlefield failed to give notice to the Board of Education for non-renewing

   probationary teachers; (2) Dr. Littlefield’s recommendation for non-renewal was made to

   the Board rather than through the “chain of command”; (3) Dr. Littlefield purportedly failed

   to follow the evaluation process before non-renewing the probationary teachers; and (4)

   Dr. Littlefield failed to delegate staffing responsibilities to his co-Principal.

          64.     Of those allegations, only the third and fourth were the subject of the April

   27th written warning.

          65.     Contrary to Ms. Anderson’s claim that Dr. Littlefield engaged in the alleged

   conduct, the non-renewed employees (or teachers) were both probationary employees,

   with one of the employees having engaged in conduct in the latter part of April 2021 that

   was just cause for non-renewal. As relayed to Ms. Anderson, Dr. Littlefield stated that to

   avoid any issue he would agree to place both of the teachers on probationary contracts

   for the next year with performance improvement plans. Ms. Anderson summarily rejected

   that recommendation. Notably, one of the employees has since resigned. Second, the

   non-renewal recommendation occurred on May 23, 2021, which was eight days before

   the June 1st statutory deadline for non-renewing probationary employees. Certainly eight



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   days was sufficient notice to the Board to act upon Dr. Littlefield’s non-renewal

   commendations. Third, and as to the allegation that he failed to follow the chain-of-

   command, Dr. Littlefield sent his recommendations to both Ms. Anderson and the Board

   because at that time there was no District Superintendent due to Ms. Arnold’s termination.

   Dr. Littlefield provided the recommendations to those individuals that he believed were

   part of the decision-making process.

          66.    As set forth in paragraph 63 herein, Ms. Anderson alleged that Dr. Littlefield

   failed to follow the evaluation process before non-renewing the probationary teachers.

   This accusation, like the others in the June 1 st letter, lacked merit. At all times, Dr.

   Littlefield completed all of the evaluations he was required to undertake as the Principal

   of RHS, which evaluations were well documented. Equally baseless is the claim that Dr.

   Littlefield failed to delegate responsibilities to his co-Principal. Contrary to Ms. Anderson’s

   claim is that Dr. Littlefield did in fact delegate faculty/staff decisions to his co-Principal.

          67.    Upon information and belief, and before the District elected to terminate Dr.

   Littlefield’s employment stemming from Ms. Anderson’s June 1 st letter, the allegations

   were not part of a formal investigation to determine whether there was actual merit to

   support Ms. Anderson’s conclusions.

          68.    Upon information and belief, Ms. Anderson did not recuse herself from the

   decision-making process in terminating Dr. Littlefield’s employment despite being a

   named party in Dr. Littlefield’s complaint.




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          69.    Upon information and belief, at the time Ms. Anderson made the

   determination that Dr. Littlefield’s contract would not be renewed, Dr. Littlefield’s

   complaint against her and Ms. Arnold was still pending.

          70.    Upon information and belief, the District was aware that Dr. Littlefield’s

   complaint against Ms. Anderson was still pending as of June 1, 2021 but nonetheless did

   not require nor instruct that Ms. Anderson recuse herself from deciding the non-renewal

   status of Dr. Littlefield’s employment.

          71.    At all times relevant, and as set forth below, both the District and Ms.

   Anderson knew that District policy precluded an employee from retaliating against another

   District employee who files a complaint.

          72.    Upon information and belief, the District was aware that Dr. Littlefield’s

   complaint alleged that both Ms. Arnold and Ms. Anderson violated his rights based on

   religious practice and as a white male. Despite that knowledge, the District still allowed

   Ms. Anderson to decide whether Dr. Littlefield’s contract with the District would be non-

   renewed.

          73.    As the Assistant Superintendent of Human Resources, Ms. Anderson held

   a supervisory role above Dr. Littlefield.

          74.    At all times relevant, the District had provided all District employees and

   students a copy of the District Handbook. The District Handbook sets forth policies,

   regulations, and exhibits on the District’s legal role in providing public education and the

   basic principles under the Board of Education’s governance.




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          75.    At all times relevant, all District employees were required to review and

   comply with the policies contained within the District Handbook.

          76.    The District Handbook states in relevant part the following:

          The Board is committed to providing a safe learning and work environment
          where all members of the school community are treated with dignity and
          respect. The schools in the district are subject to all federal and state laws
          and constitutional provisions prohibiting discrimination on the basis of
          disability, race, creed, color, sex, sexual orientation, marital status, national
          origin, religion…Accordingly, no otherwise qualified student, employee,
          applicant for employee or member of the public may be excluded from
          participation in, be denied the benefits of, or be subjected to unlawful
          discrimination under and district program or activity on the basis of disability,
          race, creed, color, sex, sexual orientation, marital status, national origin,
          religion….

          77.    The District policy further stated that the District will “investigate and resolve

   promptly any and all complaints of unlawful discrimination and harassment.”

   Furthermore, the District’s policy states that it will “investigate and appropriately discipline

   staff and student found to be responsible for incidents of harassment or unlawful

   discrimination in violation of Board policy.”

          78.    Finally, District policy states that “retaliation against the complainant,

   respondent, or any person who filed a complaint or participated in an investigation,

   is prohibited. Individuals found to have engaged in retaliatory behavior will be subject

   to disciplinary measures.” (Emphasis added).

          79.    At all times relevant, and while Ms. Arnold was the Superintendent, she was

   tasked with not only carrying out the policies of the Board of Education but she had to

   follow them as well.




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          80.     Likewise, Ms. Arnold, as an employee of the District, was also required to

   follow District policies.

          81.     At all times relevant, Dr. Littlefield exhausted the administrative remedies

   and received a right to sue by the Equal Employment Opportunity Commission and the

   Colorado Civil Rights Division. This action is being timely filed within the ninety-day

   statutory period.

                                  FIRST CLAIM FOR RELIEF
                       (First Amendment Violation under 42 U.S.C. §1983)
                         Unlawful Retaliation for Freedom of Association
                                         All Defendants

          82.     The Plaintiff incorporates by reference all of the allegations set forth above.

          83.     At all times relevant, Dr. Littlefield was and is a member of the Christian

   Church.

          84.     At all times relevant, Dr. Littlefield openly associated himself as a member

   of the Christian Church. As discussed above, however, Dr. Littlefield never proselytized

   at RHS nor otherwise attempted to impart his religious beliefs on others at the school.

          85.     At all times relevant, Dr. Littlefield was engaged in the constitutionally

   protected activity of aligning himself with his Christian faith by speaking openly of his faith

   to the Fellowship of Christian Athletes.

          86.     As set forth above, the Defendants engaged in open hostility towards Dr.

   Littlefield due to his affiliation with Christianity. As a result of Defendants’ hostility towards

   Dr. Littlefield and his faith, he filed a complaint opposing such unlawful conduct.

          87.     As a result of Dr. Littlefield’s actions, Ms. Arnold, a Defendant in this case,

   not only filed a complaint soon after Dr. Littlefield’s lawful opposition to her unlawful


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   conduct, but also demoted him to the position of co-Principal. Such actions are prohibited

   under District policy.

          88.     Additionally, a mere 90 days after Dr. Littlefield complained of Ms. Arnold’s

   and Ms. Anderson’s intolerance of his Christian faith, the District terminated Dr. Littlefield.

   This too was a violation under District policy. Notably, Dr. Littlefield had no prior history

   of disciplinary action.

          89.     Significantly, Dr. Littlefield was put on a written warning on April 27, 2021,

   which Ms. Anderson and the District were aware. Just thirty-five days after receiving a

   written warning, Assistant Superintendent of Human Resources Ms. Anderson (who was

   still a subject of Dr. Littlefield’s complaint) advised Dr. Littlefield he was terminated. This

   too violated District policy.

          90.     Dr. Littlefield’s association with the Christian Church and/or his opposition

   to Ms. Arnold’s and Ms. Anderson’s intolerance towards Dr. Littlefield’s Christian faith was

   a substantial or motivating factor to: (1) issue him a written warning; (2) demote him to

   co-Principal; and (3) terminate his employment with the District.

          91.     As a result of Defendants’ actions, Dr. Littlefield suffered injuries that would

   chill a person of ordinary firmness from continuing to engage in the protected activity.

          92.     At all times relevant, the Defendants’ actions were done under color of State

   law.

          93.     As a direct and proximate result, Dr. Littlefield was injured which injuries

   shall be proven at trial.




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                                SECOND CLAIM FOR RELIEF
         (Discrimination or unfair employment practice violation – C.R.S. §24-34-402)
                                        All Defendants


          94.    The Plaintiff incorporates by reference all of the allegations set forth above.

          95.    It is discriminatory and/or unfair employment practice to discharge, to

   promote or demote, to harass during the course of employment, or to discriminate in

   matters of compensation, terms, conditions, or privileges of employment against any

   individual otherwise qualified because of persons’ race, sex and/or religion.

          96.    It is also discriminatory and/or unfair employment practice to discriminate

   against a person because such person had opposed any practice that was either

   discriminatory or an unfair employment practice.

          97.    At all times relevant, Dr. Littlefield openly associated himself as a member

   of the Christian Church.

          98.    At all times relevant, Dr. Littlefield was engaged in the constitutionally

   protected activity of aligning himself with his Christian faith by speaking openly of his faith

   to the Fellowship of Christian Athletes.

          99.    As set forth above, the Defendants engaged in open hostility towards Dr.

   Littlefield due to his affiliation with Christianity and/or gender. As a result of Defendants’

   hostility towards Dr. Littlefield as a male and his faith, he filed a complaint opposing such

   unlawful conduct.

          100.   As a result of Dr. Littlefield’s actions, Ms. Arnold, a Defendant in this case,

   not only filed a complaint soon after Dr. Littlefield’s lawful opposition to her unlawful




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   conduct, but also demoted him to the position of co-Principal. Such actions are prohibited

   under District policy.

          101.    Additionally, a mere 90 days after Dr. Littlefield complained of Ms. Arnold’s

   and Ms. Anderson’s intolerance of his Christian faith, as well as accusations of gender

   discrimination, the District terminated Dr. Littlefield. Prior to the retaliatory complaint

   against him by Ms. Arnold and Ms. Anderson, Mr. Littlefield’s disciplinary record at RHS

   was spotless.

          102.    Dr. Littlefield’s association with the Christian Church and/or his opposition

   to Ms. Arnold’s and Ms. Anderson’s intolerance towards Dr. Littlefield’s Christian faith

   and/or his assertion that he was subjected to gender discrimination was a substantial or

   motivating factor to: (1) issue him a written warning; (2) demote him to co-Principal or (3)

   terminate his employment with the District.

          103.    As a direct and proximate result, Dr. Littlefield was injured which injuries

   shall be proven at trial.

                                   THIRD CLAIM FOR RELIEF
                 (Retaliation Claim under Title VII of the Civil Rights Act of 1964)
                           Defendant Weld County School District RE-5J

          104.    The Plaintiff incorporates by reference all of the allegations set forth above.

          105.    Ms. Arnold and Ms. Anderson subjected Dr. Littlefield to unlawful

   discrimination based on his being a Christian white male.

          106.    As a result of being subjected to gender discrimination, as set forth more

   fully above, Dr. Littlefield opposed the discriminatory treatment by filing a complaint to the




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   District in compliance with District policy and consistent with the anti-retaliation provisions

   of Title VII.

            107.   Dr. Littlefield was engaged in protected opposition to unlawful employment

   practices committed by the Defendants under Title VII. Specifically, Dr. Littlefield voiced

   opposition to unlawful gender discrimination.

            108.   Defendants were clearly aware that Dr. Littlefield was voicing his opposition

   to unlawful gender discrimination practices. Defendants were aware that Dr. Littlefield

   had the right to oppose unlawful gender discrimination practices. However, despite Dr.

   Littlefield’s protected right to oppose activities prohibited by Title VII, Defendants

   intentionally retaliated against him by terminating him for engaging in the protected

   activity.

            109.   Dr. Littlefield suffered an employment action that a reasonable employee

   would have found to be materially adverse, meaning that the actions taken by Defendants

   described herein would have dissuaded a reasonable worker from making or supporting

   a charge of discrimination.

            110.   The District is liable for the acts and omissions of its agents and employees.

   The District, either directly or by and through its agents, retaliated against Dr. Littlefield

   which caused him with severe injuries, damages and losses, which shall be proven at

   trial.

            111.   Defendants’ conduct was the proximate cause of Dr. Littlefield’s injuries,

   damages and losses, which shall be proven at trial.




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           112.   Defendants’ conduct was engaged in with malice or with reckless

   indifference to the federally protected rights of Dr. Littlefield within the meaning of Title

   VII.

           WHEREFORE, Plaintiff prays for judgment in his favor as follows:


            A.    On the First Claim for Relief against Defendants in an amount to be proven
   at trial;

         B.       On the Second Claim for Relief against Defendants in an amount to be
   proven at trial;

         C.       On their Third Claim for Relief against Defendants in an amount to be
   proven at trial;

           D.     Attorneys’ fees and costs as permitted under federal and state law;

           E.     Pre-and Post-Judgment interest, costs and expert witness fees; and

         F.    Such other and further relief as the court deems proper in the
   circumstances.

        PLAINTIFF DEMANDS TRIAL BY JURY OF ALL CLAIMS AND ISSUES SO
   TRIABLE.

   Respectfully submitted this 31st day of August, 2022.



                                      /s/ Reid J. Elkus_______
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